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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS



                                                                        Civil Action
                                                                        No: 12cv11554-WGY
                                Lexington Luminance LLC

                                          Plaintiff

                                              v.

                                Feit Electric Company, Inc.
                                         Defendant



                     SETTLEMENT ORDER OF DISMISSAL

YOUNG, D.J.


       The Court having been advised on November 25, 2013 that the above-entitled action
has been settled:
       IT IS ORDERED that this action is hereby dismissed without cost and without
prejudice to the right of any party, upon good cause shown, to reopen the action within thirty
(30) days if settlement is not consummated.


                                                                 By the Court,

                                                                 /s/Matthew A. Paine

                                                                 Deputy Clerk




November 25, 2013


To: All Counsel
